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  8

  9                           UNITED STATES DISTRICT COURT
 10                         CENTRAL DISTRICT OF CALIFORNIA
 11
    BARAK FEDERMAN, individually             Case No. ___________
 12 and on behalf of all others similarly
    situated,                                CLASS ACTION COMPLAINT
 13

 14                  Plaintiff,

 15         v.

 16 CEREBRAL INC., a Delaware
      corporation,
 17
                     Defendant.              JURY TRIAL DEMANDED
 18

 19

 20

 21

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 28
                                  CLASS ACTION COMPLAINT
                                             1
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  1

  2
             Plaintiff Barak Federman ("Plaintiff") brings this Class Complaint against

  3 Cerebral Inc. (“Cerebral” or “Defendant”) and alleges, upon personal knowledge as

  4
      to his own actions, and upon information and belief as to all other matters, as follows:
  5

  6                                     JURISDICTION

  7          1.     This Court has subject matter jurisdiction pursuant to the Class Action
  8
      Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because the aggregate amount in
  9

 10 controversy exceeds $5 million, exclusive of interest and costs; and minimal diversity

 11 exists because at least one class member, including Plaintiff, and Defendant are

 12
      citizens of different states.
 13

 14          2.     This Court has federal question jurisdiction under 29 U.S.C. § 1331

 15 because this Complaint alleges violations of the ECPA (28 U.S.C. § 2511, et seq., and

 16
      28 U.S.C. § 2702) and the CFAA (18 U.S.C. § 1030, et seq).
 17

 18          3.     This Court has personal jurisdiction over Defendant because its principal
 19 place of business is in this District and the many of the acts and omissions giving rise

 20
      to Plaintiff's claims occurred in and emanated from this District.
 21

 22                                         PARTIES
 23          Plaintiff Barak Federman
 24
             4.     Plaintiff Barak Federman is a citizen and resident of New York.
 25

 26          5.     Plaintiff Federman has received healthcare services from Defendant
 27 since 2022 and accessed those services via Defendant’s website and mobile

 28

                                                 2
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  1 applications (“Digital Platforms”). While using Defendant’s Digital Platforms,

  2
      Plaintiff communicated sensitive, and what he presumed to be confidential, personal
  3

  4 and medical information to Defendant.

  5         6.     Plaintiff Federman used Defendant’s Digital Platforms to communicate
  6
      with healthcare providers, research particular medical concerns and treatments, fill
  7

  8 out forms and questionnaires, schedule and attend appointments, and perform other

  9 tasks related to his specific medical inquiries.

 10
            7.     In the course of using Defendant’s services, Plaintiff provided his name,
 11

 12 phone number, email address, date of birth, and other PII. As a result of the Tracking

 13 Pixel Defendant chose to install on its Digital Platforms, this information was

 14
      intercepted, viewed analyzed, and used by unauthorized third parties.
 15

 16         8.     In the course of using Defendant’s services, Plaintiff answered
 17 Cerebral’s online mental health self-assessment and communicated information

 18
      regarding his particular health condition and concerns and other PHI. As a result of
 19

 20 the Tracking Pixel Defendant chose to install on its Digital Platforms, this information

 21 was intercepted, viewed analyzed, and used by unauthorized third parties.

 22
            9.     In the course of using Defendant’s services, Plaintiff communicated to
 23

 24 and received from Defendant information regarding his appointments, treatments,

 25 clinical information, health insurance and pharmacy information, and insurance

 26
      information. As a result of the Tracking Pixel Defendant chose to install on its Digital
 27

 28

                                                 3
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  1 Platforms, this information was intercepted, viewed analyzed, and used by

  2
      unauthorized third parties.
  3

  4         10.    Plaintiff Federman has been a Cerebral user since 2022.

  5         11.    Plaintiff Federman accessed Defendant’s Digital Platforms to receive
  6
      healthcare services from Defendant or Defendant’s affiliates at Defendant’s direction
  7

  8 and with Defendant’s encouragement.

  9         12.    As Defendant’s patient, Plaintiff Federman reasonably expected that his
 10
      online communications with Defendant were solely between himself and Defendant,
 11

 12 and that such communications would not be transmitted or intercepted by a third

 13 party. Plaintiff Federman also relied on Defendant’s Privacy Policies in reasonably

 14
      expecting Defendant would safeguard his Private Information. But for his status as
 15

 16 Defendant’s patient and Defendant’s representations via its Privacy Policies, Plaintiff

 17 Federman would not have disclosed his Private Information to Defendant.

 18
            13.    During his time as Defendant’s patient, Plaintiff Federman never
 19

 20 consented to the use of his Private Information by third parties or to Defendant

 21 enabling third parties, including Facebook, Google, TikToK, and others to access or

 22
      interpret such information.
 23

 24         14.    Notwithstanding, through the Tracking Pixel and similar technologies
 25 embedded on Defendant’s Digital Platforms, Defendant transmitted Plaintiff

 26
      Federman’s Private Information to third parties, including Facebook, Google,
 27

 28 TikTok, and others.

                                               4
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  1         15.   Facebook, Google, TikTok, and others offer code to website and mobile
  2
      application operators, like Defendant, to integrate into their platforms. When a user
  3

  4 accesses a platform hosting the Pixel, the Pixel’s software script surreptitiously directs

  5 the user’s browser to send a separate message to a third party’s servers during their

  6
      interaction with the webpage. This second, secret transmission contains the original
  7

  8 GET request sent to the host website, along with additional data that the Pixel is

  9 configured to collect. This transmission is initiated by the code concurrently with the

 10
      communications with the host website. Two sets of code are thus automatically run
 11

 12 as part of the browser’s attempt to load and read Defendant’s Websites—Defendant’s

 13 own code, and the Pixel embedded code.

 14
            16.   After intercepting and collecting this information, Facebook, Google,
 15

 16 TikTok, and others view it, process it, analyze it, and assimilate it into data sets used

 17 to target consumers with advertising.

 18
            17.   The Private Information of Plaintiff's and Class Members’ that was
 19

 20 unlawfully intercepted and transmitted by Defendant includes: names, phone

 21 numbers, email addresses, dates of birth, IP addresses, Cerebral client ID numbers,

 22
      and other demographic or information.
 23

 24         18.   According to the report Defendant submitted to the United States
 25 Department of Health and Human Services, Defendant admits that the Private

 26
      Information of at least 3,000,000 individuals was improperly and unlawfully
 27

 28

                                                 5
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  1 disclosed to Facebook, Google, TikTok, and others without those individuals’

  2
      knowledge or consent.
  3

  4         19.    Plaintiff brings this complaint to address Defendant’s transmission and

  5 disclosure of Plaintiff's and Class Members’ confidential personally identifiable

  6
      information (“PII”) and protected health information (“PHI”) (collectively referred to
  7

  8 as “Private Information” or “PII and PHI”) to Meta Platforms, Inc. d/b/a Meta

  9 (“Facebook”) and/or Google LLC d/b/a Google (“Google”) via a tracking pixel

 10
      (“Tracking Pixel” or “Pixel”) installed on Defendant’s website.
 11

 12         Defendant Cerebral Inc.

 13         20.    Defendant Cerebral Inc. is a healthcare company incorporated in
 14
      Delaware with its with its principal place of business and headquarters located at 340
 15

 16 S. Lemon Ave., #9892, Walnut, California, 91789.

 17                                         VENUE
 18
            21.    Venue is proper under 18 U.S.C § 1391(b)(1) because Defendant’s
 19

 20 principal place of business is in this District and a substantial part of the acts and

 21 omissions complained of herein took place in this District.

 22

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                                                6
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  1                             NATURE OF THE ACTION
  2
            22.   Defendant is a healthcare corporation headquartered in California.
  3

  4 Defendant " offers long-term online care and medication management for a wide

  5 range of mental health conditions."1

  6
            23.   Plaintiff brings this case to address Defendant’s transmission and
  7

  8 disclosure of Plaintiff's and Class Members’ confidential personally identifiable

  9 information (“PII”) and protected health information (“PHI”) (collectively referred to

 10
      as “Private Information”) to Meta Platforms, Inc. d/b/a Meta (“Facebook”) and/or
 11

 12 Google LLC d/b/a Google (“Google”) via a tracking pixel (“Tracking Pixel” or

 13 “Pixel”) installed on Defendant’s website.

 14
            24.   Defendant unlawfully intercepted and transmitted Plaintiff’s and Class
 15

 16 Members’ Private Information including their: names, phone numbers, email

 17 addresses, dates of birth, IP addresses, Cerebral client ID numbers, and demographic

 18
      and other information.
 19

 20         25.   In order to provide medical treatment and care, Defendant collects and
 21 stores its patients’ Private Information and medical records. In doing so, Defendant

 22
      has statutory, regulatory, contractual, fiduciary, and common law duties to safeguard
 23

 24 that Private Information from disclosure and ensure that it remains private and

 25 confidential. Defendant is duty bound to maintain the confidentiality of patient

 26

 27
      1
       https://cerebral.com/faqs#General_questions-How_does_Cerebral_work_ (last
 28
      visited Mar. 9, 2023).
                                               7
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  1 medical records and information and is further required to do so by the Health

  2
      Insurance Portability and Accountability Act of 1996 (“HIPAA").2
  3

  4         26.   According to a report Defendant submitted to the United States

  5 Department of Health and Human Services, Defendant admits that the Private

  6
      Information of at least 3,000,000 individuals was improperly and unlawfully
  7
                                                                                      3
  8 disclosed to Facebook and Google without those individuals’ knowledge or consent.

  9         27.   Plaintiff and Class Members are individuals who are seeking or have
 10
      sought medical services and/or treatment from Defendant. Defendant advertises its
 11

 12 online services on its Digital Platforms and elsewhere to assist patients with their

 13 medical care. Based on Defendant’s solicitations that patients use its online services,

 14
      Plaintiff used Defendant’s Website to communicate with healthcare providers,
 15

 16 research particular medical concerns and treatments, fill out forms and questionnaires,

 17 schedule and attend appointments, and perform other tasks related to his particular

 18
      medical concerns.
 19

 20

 21

 22

 23

 24   2
        The Health Insurance Portability and Accountability Act of 1996 (“HIPAA”), Pub.
 25   L. No. 104-191, 110 Stat. 1936 (1996), (“HIPAA”), and regulations of the United
      States Department of Health and Services (“HHS”) promulgated thereunder, are
 26
      designed to protect the confidentiality and guard against the unauthorized disclosure
 27   of medical records, patient health care information, and other individually
      identifiable healthcare information.
 28   3
        https://ocrportal.hhs.gov/ocr/breach/breach_report.jsf (last visited Mar. 9, 2023).
                                                8
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  1            28.    Defendant’s Privacy Policies (“Privacy Policies”) unequivocally state
  2
      that Defendant will not share Plaintiff's and Class Members’ Private Information for
  3
                                                                   4
  4 marketing purposes unless patients provide written permission.

  5            29.    As explained below, however, Defendant did disclose Plaintiff's and
  6
      Class Members’ Private Information via the Tracking Pixel and other technologies to
  7

  8 third parties, such as Facebook, Google, TikTok, and others. Defendant’s disclosure

  9 of Plaintiff's and Class Members’ Private Information constitutes a gross violation of

 10
      common law and statutory data privacy laws.
 11

 12            30.    Despite warnings that healthcare organizations were disclosing Private

 13 Information to digital marketing companies by incorporating the Tracking Pixel and

 14
      similar technologies as far back as June of 2022,5 Defendant did not acknowledge the
 15

 16 Tracking Pixel and its widespread and blatant disclosures of Plaintiff's and Class

 17 Members’ Private Information until on or around March 6, 2023.6

 18
               31.    On or about March 6, 2023, Defendant posted a Statement (hereinafter
 19

 20 referred to as the “Notice Letter”) on its website, which states the following:

 21            Cerebral Inc. (“Cerebral”) takes your privacy seriously. We write to provide
 22            transparency regarding Cerebral’s prior data sharing practices via Tracking
               Technologies (as defined below) on portions of its websites and mobile
 23            applications (“Cerebral’s Platforms”) and with certain subcontractors and
 24            other service providers (“Subcontractors”).
 25   4
          https://cerebral.com/privacy-policy (last visited Mar. 9, 2023).
 26   5
     https://themarkup.org/pixel-hunt/2022/06/16/facebook-is-receiving-sensitive-
 27 medical-information-from-hospital-websites
      6
          : https://cerebral.com/static/hippa_privacy_breach-4000c6eb21449c2ecd8bd13706750cc2.pdf
 28

                                                     9
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    1

    2
            What Happened?

    3       Like others in many industries, including health systems, traditional brick and
    4       mortar providers, and other telehealth companies, Cerebral has used what are
            called “pixels” and similar common technologies (“Tracking Technologies”),
    5       such as those made available by Google, Meta (Facebook), TikTok, and other
    6       third parties (“Third Party Platforms”), on Cerebral’s Platforms. Cerebral has
            used Tracking Technologies since we began operations on October 12, 2019.
    7       Cerebral recently initiated a review of its use of Tracking Technologies and
    8       data sharing practices involving Subcontractors. On January 3, 2023, Cerebral
            determined that it had disclosed certain information that may be regulated as
    9       protected health information (“PHI”) under HIPAA to certain Third Party
   10       Platforms and some Subcontractors without having obtained HIPAA-required
            assurances.
   11

   12       What Information Was Involved?

   13       The information disclosed varied depending on what actions you took on
   14       Cerebral’s Platforms, the nature of the services provided by the
            Subcontractors, the configuration of Tracking Technologies when you used
   15       our services, the data capture configurations of the Third-Party Platforms,
   16       how you configured your device and browser, and other factors.
   17             • If you created a Cerebral account, the information disclosed may have
   18             included your name, phone number, email address, date of birth, IP
                  address, Cerebral client ID number, and other demographic or
   19             information.
   20
                  • If, in addition to creating a Cerebral account, you also completed any
   21             portion of Cerebral’s online mental health self-assessment, the
   22             information disclosed may also have included your selected service,
                  assessment responses, and certain associated health information.
   23

   24             • If, in addition to creating a Cerebral account and completing
                  Cerebral’s online mental health self-assessment, you also purchased a
   25             subscription plan from Cerebral, the information disclosed may also
   26             have included subscription plan type, appointment dates and other
                  booking information, treatment, and other clinical information, health
   27

   28

                                               10
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    1                insurance/ pharmacy benefit information (for example, plan name
    2
                     and group/ member numbers), and insurance co-pay amount.7

    3         32.    Parsing out Defendant’s Notice Letter, Defendant has admitted that its
    4
        Website contain a Tracking Pixel that secretly enabled the unauthorized transmission
    5

    6 and disclosure of Plaintiff's and Class Members’ Private Information to third parties

    7 such as Facebook, Google, TikTok and others.

    8
              33.    The Private Information that Defendant discloses through the Tracking
    9

   10 Pixel and similar technologies is valuable to internet marketing companies like

   11 Facebook, Google, TikTok, and others as they receive, view, analyze, and aggregate

   12
        the information to build consumer profiles to assist advertisers in targeting desired
   13

   14 demographics.

   15         34.    Accordingly, the purpose of this lawsuit is to protect Plaintiff’s and Class
   16
        Members’ right to protect their Private Information, to choose who receives it and
   17

   18 how it is used, and to seek remedies for the harm caused by Defendant’s intentional,

   19 reckless, or negligent disclosure to unauthorized third parties.

   20
                                    FACTUAL ALLEGATIONS
   21

   22 Background.

   23         35.    A pixel is a piece of code that “tracks the people and [the] type of actions
   24
        they take.”8 Pixels are routinely used to target specific customers by utilizing the data
   25

   26
        7
   27  Id.
        8
       FACEBOOK, RETARGETING,
   28
      https://www.facebook.com/business/goals/retargeting (last visited Nov. 14, 2022).
                                                   11
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    1 gathered through Defendant’s pixel to build profiles for the purposes of retargeting

    2
        and future marketing.9 The Tracking Pixel is embedded on Defendant’s Digital
    3

    4 Platforms such that when a visitor interacts with the Digital Application two signals

    5 are sent in tandem, one to the intended recipient, Defendant, and another to the

    6
        unauthorized recipient.
    7

    8         36.   Accordingly, when an individual visits Defendant’s Digital Platforms

    9 and communicates Private Information to Defendant, the Tracking Pixel allows

   10
        unauthorized to listen in to Plaintiff’s and Class Member’s communications with
   11

   12 Defendant in real time, i.e., they receive the communication as it is communicated to

   13 Defendant.

   14
              37.   Defendant acknowledges that the aggregate information captured by the
   15

   16 Tracking Pixel and disclosed to unauthorized parties includes both identifying

   17 information, like names and dates of birth, and medical information. The recipients

   18
        of this data are able to associate information communicated across multiple visits to
   19

   20 the Digital Platforms by capturing persistent identifiers like IP addresses, browser

   21 fingerprints, and device IDs.

   22
              38.   Facebook Google, TikTok and others also use cookies installed on
   23

   24 Plaintiff’s and Class Members’ browser to associate Private Information with

   25

   26   9
        “Retargeting” or “remarketing” is a form of advertising that displays ads or sends
   27 emails to previous visitors of a particular website who did not “covert” the visit into
      a sale or otherwise meet a marketing goal of the website owner.
   28

                                                 12
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    1 particular individuals. For example, with respect to Facebook, the persistent Tracking

    2
        Pixel on Defendant’s Website causes that individual’s unique and persistent Facebook
    3

    4 ID (“FID”) to be transmitted alongside other Private Information that is sent to

    5 Facebook.

    6
               39.   Upon information and belief, Defendant utilized the Pixel data to
    7

    8 improve and save costs on its marketing campaign, improve its data analytics, attract

    9 new patients, and market new services and/or treatments to its existing patients. In

   10
        other words, Defendant implemented the Tracking Pixel to bolster its profits.
   11

   12          40.   Pixels are routinely used to target advertising to specific consumers by

   13 utilizing the data gathered through the pixel to build profiles for the purposes of

   14
        retargeting and future marketing.
   15

   16          41.   In this context, the Tracking Pixel is designed to transmit to third parties
   17 data gathered about the web page currently visited and any information to/from the

   18
        User to the web page. In other words, a pixel creates a link – hidden from the Digital
   19

   20 Platform’s user – that transfers information sent to/from the web page to the third

   21 party.

   22
               42.   Operating as designed, Defendant’s Tracking Pixel allowed the Private
   23

   24 Information that Plaintiff and Class Members communicated to Defendant to be

   25 unlawfully disclosed to third parties.

   26
               43.   For example, when Plaintiff or a Class Member accessed Defendant’s
   27

   28 Website hosting the Pixel, the Pixel software directed Plaintiff's or Class Members’

                                                   13
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    1 browser to send a message to the third party’s servers alongside the message intended

    2
        for Defendant’s server. The information sent to third parties by Defendant included
    3

    4 the Private Information that Plaintiff and Class Members submitted to Defendant’s

    5 Digital Platform. Such Private Information would allow the third party (e.g.,

    6
        Facebook or Google) to know that a specific patient was seeking confidential medical
    7

    8 care and the type of medical care being sought.

    9         44.   The third party, in turn, sells Plaintiff's and Class Members’ Private
   10
        Information to third-party marketers who online target10 Plaintiff and Class Members
   11

   12 based on communications obtained via the Tracking Pixel.

   13         45.   Plaintiff submitted personal and medical information to Defendant’s
   14
        Digital Platforms and used the Digital Platforms to communicate with healthcare
   15

   16 providers, research particular medical concerns and treatments, fill out forms and

   17 questionnaires, schedule and attend appointments, and perform other tasks related to

   18
        his particular medical concerns.
   19

   20         46.   Via the Tracking Pixel, Defendant transmitted this Private Information
   21 to third parties, such as Facebook and Google.

   22

   23

   24
        10
   25    “Online Targeting” is “a process that refers to creating advertisement elements
      that specifically reach out to prospects and customers interested in offerings. A
   26
      target audience has certain traits, demographics, and other characteristics, based on
   27 products or services the advertiser is promoting.” See
      https://digitalmarketinggroup.com/a-guide-to-onlinetargeting-which-works-for-
   28
      your-business/ (last visited: January 23, 2023).
                                                14
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    1         47.    Defendant regularly encouraged Plaintiff and Class Members to use its
    2
        digital tools, including its Website, to receive healthcare services. In doing so,
    3

    4 Defendant also directed Plaintiff and Class Members to its Privacy Policies, which

    5 preclude the transmission or disclosure of Private Information to unauthorized third

    6
        parties, such as Facebook or Google.
    7

    8         48.    Plaintiff and Class Members provided Private Information to Defendant

    9 in order to receive medical services and with the reasonable expectation that

   10
        Defendant would protect their Private Information.
   11

   12         49.    At all times that Plaintiff and Class Members visited and utilized

   13 Defendant’s Digital Platforms, they had a reasonable expectation of privacy in the

   14
        Private Information collected through Defendant’s Digital Platforms, including that it
   15

   16 would remain secure and protected and only utilized for necessary purposes.

   17 Plaintiff's and Class Members’ expectations were entirely reasonable because (1) they

   18
        are patients; and (2) Defendant is a healthcare provider which is required by common
   19

   20 and statutory law to protect its patients’ Private Information. Moreover, Plaintiff and

   21 Class Members also relied on Defendant’s Privacy Policies, which do not permit the

   22
        transmission or disclosure of Plaintiff's and Class Members’ Private Information to
   23

   24 unauthorized third parties.

   25         50.    Defendant further made express and implied promises to protect
   26
        Plaintiff's and Class Members’ Private Information and maintain the privacy and
   27

   28 confidentiality of communications that they exchange with Defendant. Instead,

                                                 15
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    1 Defendant chose to exchange the Private Information to optimize the delivery of its

    2
        ads, measure cross-device conversions, create custom advertising groups or
    3

    4 “audiences,” learn about the use of its Digital Platforms, and decrease advertising and

    5 marketing costs.11

    6
                   51.   Defendant owed common law, contractual, statutory, and regulatory
    7

    8 duties to keep Plaintiff's and Class Members’ Private Information safe, secure, and

    9 confidential. Furthermore, by obtaining, collecting, using, and deriving a benefit from

   10
        Plaintiff's and Class Members’ Private Information, Defendant assumed legal and
   11

   12 equitable duties to those individuals to protect and safeguard that information from

   13 unauthorized disclosure.

   14
                   52.   However, as set forth more fully below, Defendant failed in its
   15

   16 obligations and promises by utilizing the Tracking Pixel on its Digital Platforms

   17 knowing that such technology would transmit and disclose Plaintiff's and Class

   18
        Members’ Private Information to unauthorized third parties.
   19

   20              53.   The exposed Private Information of Plaintiff and Class Members can—
   21 and likely will—be further disseminated to additional third parties utilizing the data

   22
        for retargeting or to insurance companies utilizing the information to set insurance
   23

   24 rates.

   25

   26

   27

   28   11
             Id.
                                                    16
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    1         54.   While Defendant willfully and intentionally incorporated the Tracking
    2
        Pixel into its Digital Platforms, Defendant did not disclose to Plaintiff or Class
    3

    4 Members that it shared their sensitive and confidential communications via the

    5 Tracking Pixel to Facebook or Google until on or around March 6, 2023.

    6
              55.   As a result, Plaintiff and Class Members were unaware that their Private
    7

    8 Information was being surreptitiously transmitted and/or disclosed to Facebook and

    9 Google as they communicated with their healthcare provider via the Digital Platforms.

   10
              56.   Defendant breached its obligations in one or more of the following ways:
   11

   12 (i) failing to adequately review its marketing programs and web based technology to

   13 ensure Defendant’s Website was safe and secure; (ii) failing to remove or disengage

   14
        technology that was known and designed to share web-users’ information; (iii) failing
   15

   16 to obtain the consent from Plaintiff and Class Members before disclosing their Private

   17 Information to Facebook, Google, or others; (iv) failing to take steps to block the

   18
        transmission of Plaintiff's and Class Members’ Private Information through Tracking
   19

   20 Pixels; and (v) otherwise failing to design and monitor its Website to maintain the

   21 confidentiality and integrity of patient Private Information.

   22
              57.   Plaintiff and Class Members have suffered injury as a result of
   23

   24 Defendant’s conduct. These injuries include: (i) invasion of privacy, (ii) loss of

   25 control over their Private Information, (iii) diminution of value of the Private

   26
        Information, (iv) statutory damages, and (v) the continued and ongoing risk of
   27

   28 exposure and use of their Private Information by marketing companies.

                                                 17
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    1 Defendant Improperly Disclosed Plaintiff's and Class Members’ Private

    2
        Information via the Tracking Pixel.

    3         58.    Defendant incorporated Tracking Pixels and similar technology to better
    4
        understand the efficacy of its marketing efforts, how users interact with their Digital
    5
        Platforms and to attract users like Plaintiff and Class Members to Defendant’s Digital
    6

    7 Platforms with the ultimate goal of increasing profitability. The Pixel and similar

    8
        technologies were invisible to Plaintiff and Class Members and unbeknownst to them
    9

   10
        were used to secretly track their interactions by simultaneously transmitting their

   11 activity to third party tracking technology providers.

   12
              59.    While seeking and using Defendant’s services as a medical provider, and
   13

   14
        utilizing the Website, Plaintiff's and Class Members’ Private Information was

   15 intercepted in real time and then disseminated to Facebook, Google, TikTok, and

   16
        other third parties, via the Pixel that Defendant secretly installed on its Website.
   17

   18         60.    Plaintiff and Class Members did not intend or have any reason to suspect

   19 their Private Information would be shared with third parties, or that Defendant was

   20
        tracking their every communication and disclosing the same to third parties when they
   21

   22 entered highly sensitive information on Defendant’s Digital Platforms.

   23         61.    Defendant did not disclose to or warn Plaintiff or Class Members that
   24
        Defendant used Plaintiff's and Class Members’ confidential electronic medical
   25

   26 communications and Private Information for marketing purposes.

   27

   28

                                                   18
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    1         62.    Defendant tracked Plaintiff’s and Class Members’ Private Information
    2
        via the Tracking Pixel.
    3

    4         63.    Plaintiff and Class Members never consented, agreed, authorized, or

    5 otherwise permitted Defendant to disclose their Private Information.

    6
              64.    As a result of the Data Breach, Plaintiff’s and Class Members’ Private
    7

    8 Information, which has an inherent market value as evidenced by its marketing value,

    9 has been damaged and diminished by its unauthorized release to Facebook, Google,

   10
        TikTok, and others, to whom it is now available and holds significant value. However,
   11

   12 this transfer of value occurred without any consideration paid to Plaintiff or Class

   13 Members for their property, resulting in an economic loss. Moreover, the Private

   14
        Information is now readily available, and the rarity of the Data has been lost, thereby
   15

   16 causing additional loss of value.

   17         65.    Defendant also deprived Plaintiff and Class Members of their privacy
   18
        rights when it: (1) implemented technology (i.e., the Tracking Pixel) that
   19

   20 surreptitiously tracked, recorded, and disclosed Plaintiff's and other online patients’

   21 confidential communications and Private Information; (2) disclosed patients’

   22
        protected information to Facebook, Google, and/or other unauthorized third-parties;
   23

   24 and (3) undertook this pattern of conduct without notifying Plaintiff or Class Members

   25 and without obtaining their express written consent.

   26

   27

   28

                                                  19
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    1 Defendant’s Pixel, Source Code, and Interception of HTTP Requests.

    2
             66.      Web browsers are software applications that allow consumers to
    3

    4 navigate the web and view and exchange electronic information and communications

    5 over the internet. Each “client device” (such as computer, tablet, or smart phone)

    6
        accessed web content through a web browser (e.g., Google’s Chrome browser,
    7

    8 Mozilla’s Firefox browser, Apple’s Safari browser, and Microsoft’s Edge browser).

    9        67.      Every website is hosted by a computer “server” that holds the website’s
   10
        contents and through which the entity in charge of the website exchanges
   11

   12 communications with Internet users’ client devices via their web browsers.

   13        68.      Web communications consist of HTTP Requests and HTTP Responses,
   14
        and any given browsing session may consist of thousands of individual HTTP
   15

   16 Requests and HTTP Responses, along with corresponding cookies:

   17               HTTP Request: an electronic communication sent from the client
   18
                      device’s browser to the website’s server. GET Requests are one of the
   19

   20                 most common types of HTTP Requests. In addition to specifying a
   21                 particular URL (i.e., web address), GET Requests can also send data to
   22
                      the host server embedded inside the URL, and can include cookies.
   23

   24               Cookies: a small text file that can be used to store information on the
   25
                      client device which can later be communicated to a server or servers.
   26
                      Cookies are sent with HTTP Requests from client devices to the host
   27

   28                 server. Some cookies are “third-party cookies” which means they can

                                                  20
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    1                  store and communicate data when visiting one website to an entirely
    2
                       different website.
    3

    4                HTTP Response: an electronic communication that is sent as a reply to

    5                  the client device’s web browser from the host server in response to an
    6
                       HTTP Request. HTTP Responses may consist of a web page, another
    7

    8                  kind of file, text information, or error codes, among other data.

    9         69.      A patient’s HTTP Request essentially asks Defendant’s Website to
   10
        retrieve certain information (such as a physician’s “Book an Appointment” page), and
   11

   12 the HTTP Response renders or loads the requested information in the form of

   13 “Markup” (the pages, images, words, buttons, and other features that appear on the

   14
        patient’s screen as they navigate Defendant’s Webpage(s)).
   15

   16         70.      Every webpage is comprised of Markup and “Source Code.” Source
   17 Code is a set of instructions invisible to the website’s visitor that commands the

   18
        visitor’s browser to take certain actions when the webpage first loads or when a
   19

   20 specified event triggers the code.

   21         71.      Source code may also command a web browser to send data
   22
        transmissions to third parties in the form of HTTP Requests quietly executed in the
   23

   24 background without notifying the web browser’s user. Defendant’s Pixel is source

   25
        code that does just that. The Pixel acts much like a traditional wiretap. When patients
   26
        visit Defendant’s Digital Platforms via an HTTP Request to Defendant’s server,
   27

   28 Defendant’s server sends an HTTP Response including the Markup that displays the

                                                    21
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    1 page of the Digital Platforms visible to the user and Source Code, including

    2
        Defendant’s Pixel. Thus, Defendant is in essence handing patients a tapped phone,
    3

    4 and once the Webpage is loaded into the patient’s browser, the software-based wiretap

    5 is quietly waiting for private communications on the Webpage to trigger the tap,

    6
        which intercepts those communications intended only for Defendant and transmits
    7

    8 those communications to third-parties, including Facebook, Google, TikTok, and

    9 others.

   10
              72.    After intercepting and collecting this information, Facebook, Google,
   11

   12 TikTok, and others view it, process it, analyze it, and assimilate it into datasets. These

   13 datasets allow marketing companies to build intimate profiles concerning an

   14
        individual’s interests, habits, and as here, their concerns or health issues.
   15

   16         73.    Third-parties, like Facebook, Google, TikTok, and others, place third-
   17 party cookies in the web browsers of users logged into their services. These cookies

   18
        uniquely identify the user and are sent with each intercepted communication to ensure
   19

   20 the third-party can uniquely identify the patient associated with the Private

   21 Information intercepted.

   22
              74.    With substantial work and technical know-how, internet users can
   23

   24 sometimes circumvent this browser-based wiretap technology. This is why third

   25 parties bent on gathering Private Information, like Facebook, implement workarounds

   26
        that cannot be evaded by savvy users. Facebook’s workaround, for example, is called
   27

   28 Conversions API. Conversions API is an effective workaround because it does not

                                                   22
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    1 intercept data communicated from the user’s browser. Instead, Conversions API “is

    2
        designed to create a direct connection between [Web hosts’] marketing data and
    3

    4 [Facebook].” Thus, the communications between patients and Defendant, which are

    5 necessary to use Defendant’s Website, are actually received by Defendant and stored

    6
        on its server before Conversions API collects and sends the Private Information
    7

    8 contained in those communications directly from Defendant to Facebook. Client

    9 devices do not have access to host servers and thus cannot prevent (or even detect)

   10
        this transmission.
   11

   12         75.    While there is no way to confirm with certainty that a Web host like

   13 Defendant has implemented workarounds like Conversions API without access to the

   14
        host server, companies like Facebook instruct Defendant to “[u]se the Conversions
   15

   16 API in addition to the [] Pixel, and share the same events using both tools,” because

   17 such a “redundant event setup” allows Defendant “to share website events [with

   18
        Facebook] that the pixel may lose.”12 Thus, it is reasonable to infer that Facebook’s
   19

   20 customers who implement the Tracking Pixel in accordance with Facebook’s

   21 documentation will also implement the Conversions API workaround.

   22
              76.    The third parties to whom a website transmits data through pixels and
   23

   24 associated workarounds do not provide any substantive content relating to the user’s

   25

   26
        12
   27    See
      https://www.facebook.com/business/help/308855623839366?id=818859032317965
   28
      (last visited Jan. 23, 2023).
                                                  23
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    1 communications. Instead, these third parties are typically procured to track user data

    2
        and communications for marketing purposes of the website owner.
    3

    4              77.   Thus, without any knowledge, authorization, or action by a user, a

    5 website owner like Defendant can use its source code to commandeer the user’s

    6
        computing device, causing the device to contemporaneously and invisibly re-direct
    7

    8 the users’ communications to third parties.

    9              78.   In this case, Defendant employed just such devices (the Tracking Pixel
   10
        and similar technologies) to intercept, duplicate, and re-direct Plaintiff's and Class
   11

   12 Members’ Private Information to third parties like Facebook and Google.

   13 Defendant’s Privacy Policies and Promises

   14
                   79.   Defendant’s Privacy Policies unequivocally state Defendant will not
   15

   16
        share Plaintiff's and Class Members’ Private Information for marketing purposes

   17 unless patients provide written permission.13

   18
                   80.   Plaintiff and Class Members have not provided Defendant with written
   19

   20 permission to share their Private Information for marketing purposes.

   21              81.   Despite Defendant’s acknowledgement that it will not share Plaintiff's
   22
        and Class Members’ Private Information, Defendant, in fact, shared Plaintiff's and
   23

   24 Class Members’ Private Information via the Tracking Pixel.

   25

   26

   27

   28   13
             Id.
                                                    24
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    1           82.    Specifically, Defendant transmitted and/or disclosed Plaintiff's and Class
    2
        Members’ Private Information to third parties, like Facebook and Google, without
    3

    4 Plaintiff's and Class Members’ consent or written permission.

    5           83.    In doing so, Defendant intended to improve and save costs on its
    6
        marketing campaign, improve its data analytics, attract new patients, and market new
    7

    8 services and/or treatments to its existing patients.

    9           84.    In simple terms, Defendant violated its own Privacy Policy—i.e., the
   10
        Privacy Policy that Plaintiff and Class Members relied upon—in order to bolster its
   11

   12 profits. Defendant Violated HIPAA Standards

   13 Defendant Violated HIPAA Standards.

   14
                85.    Under Federal Law, a healthcare provider may not disclose personally
   15

   16 identifiable, non-public medical information about a patient, a potential patient, or

   17 household member of a patient for marketing purposes without the patients’ express

   18
        written authorization.14
   19

   20           86.    Guidance from the United States Department of Health and Human
   21 Services instructs healthcare providers that patient status alone is protected by

   22
        HIPAA.
   23

   24

   25

   26

   27

   28   14
             HIPAA, 42 U.S.C. § 1320; 45 C.F.R. §§ 164.502; 164.508(a)(3), 164.514(b)(2)(i).
                                                    25
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    1         87.   In Guidance regarding Methods for De-identification of Protected Health
    2
        Information in Accordance with the Health Insurance Portability and Accountability
    3

    4 Act Privacy Rule, the Department instructs:

    5         Identifying information alone, such as personal names, residential addresses,
    6         or phone numbers, would not necessarily be designated as PHI. For instance,
              if such information was reported as part of a publicly accessible data source,
    7         such as a phone book, then this information would not be PHI because it is
    8         not related to health data… If such information was listed with health
              condition, health care provision, or payment data, such as an indication that
    9         the individual was treated at a certain clinic, then this information would be
   10         PHI.15

   11         88.   In its guidance for Marketing, the Department further instructs:
   12
              The HIPAA Privacy Rule gives individuals important controls over whether
   13         and how their protected health information is used and disclosed for
   14         marketing purposes. With limited exceptions, the Rule requires an
              individual’s written authorization before a use or disclosure of his or his
   15         protected health information can be made for marketing. … Simply put, a
   16         covered entity may not sell protected health information to a business
              associate or any other third party for that party’s own purposes. Moreover,
   17         covered entities may not sell lists of patients to third parties without obtaining
   18         authorization from each person on the list. (Emphasis added).16
   19         89.   In addition, the Office for Civil Rights (OCR) at the U.S. Department of
   20
        Health and Human Services (HHS) has issued a Bulletin to highlight the obligations
   21

   22 of HIPAA covered entities and business associates (“regulated entities”) under the

   23

   24

   25

   26
        15
   27    https://www.hhs.gov/sites/default/files/ocr/privacy/hipaa/understanding/covereden
      tities/Deidentification/hhs_deid_guidance.pdf (last visited Nov. 3, 2022)
   28 16
         Id.
                                                  26
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    1 HIPAA Privacy, Security, and Breach Notification Rules (“HIPAA Rules”) when

    2
        using online tracking technologies (“tracking technologies”).17
    3

    4         90.   The Bulletin expressly provides that “[r]egulated entities are not

    5 permitted to use tracking technologies in a manner that would result in impermissible

    6
        disclosures of PHI to tracking technology vendors or any other violations of the
    7

    8 HIPAA Rules.”

    9         91.   In other words, HHS has expressly stated that Defendant has violated
   10
        HIPAA Rules by implementing the Tracking Pixel.
   11

   12 Defendant Violated Industry Standards.

   13         92.   A medical provider’s duty of confidentiality is a cardinal rule and is
   14
        embedded in the physician-patient and hospital-patient relationship.
   15

   16         93.   The American Medical Association’s (“AMA”) Code of Medical Ethics
   17 contains numerous rules protecting the privacy of patient data and communications.

   18
              94.   AMA Code of Ethics Opinion 3.1.1 provides:
   19

   20         Protecting information gathered in association with the care of the patient is a
              core value in health care… Patient privacy encompasses a number of aspects,
   21         including, … personal data (informational privacy)
   22
              95.   AMA Code of Medical Ethics Opinion 3.2.4 provides:
   23

   24         Information gathered and recorded in association with the care of the patient
              is confidential. Patients are entitled to expect that the sensitive personal
   25         information they divulge will be used solely to enable their physician to most
   26         effectively provide needed services. Disclosing information for commercial
   27
        17
           See https://www.hhs.gov/hipaa/for-professionals/privacy/guidance/hipaa-online-
   28
        tracking/index.html.
                                                  27
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    1         purposes without consent undermines trust, violates principles of informed
    2
              consent and confidentiality, and may harm the integrity of the patient-
              physician relationship. Physicians who propose to permit third-party access to
    3         specific patient information for commercial purposes should: (a) Only provide
    4         data that has been de-identified. [and] (b) Fully inform each patient whose
              record would be involved (or the patient’s authorized surrogate when the
    5         individual lacks decision-making capacity about the purposes for which
    6         access would be granted. 176. AMA Code of Medical Ethics Opinion 3.3.2
              provides: Information gathered and recorded in association with the care of a
    7         patient is confidential, regardless of the form in which it is collected or stored.
    8         Physicians who collect or store patient information electronically…must…:(c
              ) release patient information only in keeping ethics guidelines for
    9         confidentiality.
   10
        Plaintiff's and Class Members' Expectation of Privacy.
   11

   12         96.    Plaintiff and Class Members were aware of Defendant’s duty of

   13 confidentiality when they sought medical services from Defendant.

   14
              97.    Indeed, at all times when Plaintiff and Class Members provided their PII
   15

   16 and PHI to Defendant, they all had a reasonable expectation that the information

   17 would remain private and that Defendant would not share the Private Information with

   18
        third parties for a commercial purpose, unrelated to patient care.
   19

   20 IP Addresses are Personally Identifiable Information.

   21         98.    On information and belief, through the use of the Tracking Pixels on
   22
        Defendant’s Website, Defendant also disclosed and otherwise assisted Facebook,
   23

   24 Google, and/or other third parties with intercepting Plaintiff's and Class Members’

   25 Computer IP addresses.

   26
              99.    An IP address is a number that identifies the address of a device
   27

   28 connected to the Internet.

                                                   28
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    1         100. IP addresses are used to identify and route communications on the
    2
        Internet.
    3

    4         101. IP addresses of individual Internet users are used by Internet service

    5 providers, Websites, and third-party tracking companies to facilitate and track Internet

    6
        communications.
    7

    8         102. Facebook tracks every IP address ever associated with a Facebook user.

    9 184. Google also tracks IP addresses associated with Internet users.

   10
              103. Facebook, Google, and other third-party marketing companies track IP
   11

   12 addresses for use in tracking and targeting individual homes and their occupants with

   13 advertising by using IP addresses.

   14
              104. Under HIPAA, an IP address is considered personally identifiable
   15

   16 information:

   17                     a. HIPAA defines personally identifiable information to include
   18
                              “any unique identifying number, characteristic or code” and
   19

   20                         specifically lists the example of IP addresses. See 45 C.F.R. §
   21                         164.514(2).
   22
                          b. HIPAA further declares information as personally
   23

   24                          identifiable where the covered entity has “actual knowledge
   25                          that the information to identify an individual who is a
   26
                               subject of the information.” 45 C.F.R. § 164.514(2)(ii); See
   27

   28                          also, 45 C.F.R. § 164.514(b)(2)(i)(O).

                                                 29
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    1         105. Consequently, by disclosing IP addresses, Defendant’s business
    2
        practices violated HIPAA and industry privacy standards.
    3

    4 Defendant was Enriched and Benefitted from the Use of the Pixel and
        Unauthorized Disclosures.
    5
              106. The sole purpose of the use of the Tracking Pixel on Defendant’s
    6

    7 Website was to increase marketing efficacy and ultimately profits.

    8
              107. In exchange for disclosing the Private Information of its patients,
    9

   10
        Defendant is compensated by third parties, like Facebook and Google, in the form of

   11 the use of the Tracking Pixel and similar technologies.

   12
              108. Retargeting is a form of online marketing that targets users with ads
   13

   14
        based on their previous internet communications and interactions.

   15         109. Upon information and belief, as part of its marketing campaign,
   16
        Defendant re-targeted patients and potential patients, including Plaintiff and Class
   17

   18 Members.

   19         110. By utilizing the Pixel, the cost of advertising and retargeting was
   20
        reduced, thereby benefitting Defendant.
   21

   22 Defendant Unlawfully Disclosed Plaintiff's Private Information to Facebook and
        other Third Parties.
   23

   24         Plaintiff Barak Federman

   25         111. Plaintiff Barak Federman entrusted his Private Information to Defendant.
   26
        As a condition of receiving Defendant’s services, Plaintiff Federman disclosed his
   27
        Private Information to Defendant.
   28

                                                  30
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    1         112. Plaintiff Federman accessed Defendant’s Digital Platforms to receive
    2
        healthcare services from Defendant and at Defendant’s solicitation.
    3

    4         113. Plaintiff Federman used Defendant’s Digital Platforms to communicate

    5 with healthcare providers, research particular medical concerns and treatments, fill

    6
        out forms and questionnaires, schedule and attend appointments, and perform other
    7

    8 tasks related to his particular medical concerns.

    9         114. In the course of using Defendant’s services, Plaintiff provided his name,
   10
        phone number, email address, date of birth, and other PII. As a result of the Tracking
   11

   12 Pixel Defendant chose to install on its Digital Platforms, this information was

   13 intercepted, viewed analyzed, and used by unauthorized third parties.

   14
              115. In the course of using Defendant’s services, Plaintiff answered
   15

   16 Defendant’s online mental health self-assessment and communicated information

   17 regarding his particular health condition and concerns and other PHI. As a result of

   18
        the Tracking Pixel Defendant chose to install on its Digital Platforms, this information
   19

   20 was intercepted, viewed analyzed, and used by unauthorized third parties.

   21         116. In the course of using Defendant’s services, Plaintiff communicated to
   22
        and received from Defendant information regarding his appointments, treatments,
   23

   24 clinical information, health insurance and pharmacy information, and insurance

   25 information. As a result of the Tracking Pixel Defendant chose to install on its Digital

   26
        Platforms, this information was intercepted, viewed analyzed, and used by
   27

   28 unauthorized third parties.

                                                  31
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    1          117. Plaintiff Federman reasonably expected that his communications with
    2
        Defendant via the Website were confidential, solely between himself and Defendant,
    3

    4 and that such communications would not be transmitted to or intercepted by a third

    5 party.

    6
               118. Plaintiff Federman provided his Private Information to Defendant and
    7

    8 trusted that the information would be safeguarded according to Defendant’s policies

    9 and state and federal law.

   10
               119. As described herein, Defendant worked along with Facebook, Google,
   11

   12 TikTok, and others to intercept Plaintiff Federman’s communications, including those

   13 that contained Private Information. Defendant willfully facilitated these interceptions

   14
        without Plaintiff’s knowledge, consent, or express written authorization.
   15

   16          120. Defendant transmitted to third parties Plaintiff Federman’s Private
   17 Information.

   18
               121. On information and belief, as a “redundant” measure to ensure Plaintiff’s
   19

   20 Private Information was successfully transmitted to third parties like Facebook,

   21 Defendant implemented server-based workarounds like Conversions API to send

   22
        Plaintiff’s Private Information from electronic storage on Defendant’s server directly
   23

   24 to Facebook.

   25          122. By doing so without Plaintiff Federman’s consent, Defendant breached
   26
        Plaintiff Federman’s right to privacy and unlawfully disclosed Plaintiff Federman’s
   27

   28 Private Information to third parties.

                                                 32
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    1         123. Defendant did not inform Plaintiff Federman that it had shared his
    2
        Private Information with Facebook until on or around March 6, 2023.
    3

    4         124. Plaintiff Federman suffered damages in form of (i) invasion of privacy;

    5 (ii) lost time and opportunity costs associated with attempting to mitigate the actual

    6
        consequences of the disclosure of Private Information; (iii) loss of benefit of the
    7

    8 bargain; (iv) diminution of value of the Private Information; (v) statutory damages;

    9 and (vi) the continued and ongoing risk to his Private Information.

   10
              125. Plaintiff Federman has a continuing interest in ensuring that his Private
   11

   12 Information – which, upon information and belief, remains backed up in Defendant’s

   13 possession – is protected and safeguarded from future unauthorized disclosure

   14
                                            TOLLING
   15

   16         126. Any applicable statute of limitations has been tolled by the “delayed
   17 discovery” rule. Plaintiff did not know (and had no way of knowing) that his Private

   18
        Information was intercepted and unlawfully disclosed because Defendant kept this
   19

   20 information secret until Defendant’s disclosure on or about March 6, 2023.

   21                          CLASS ACTION ALLEGATIONS
   22
              127. Plaintiff brings this action on behalf of themselves and on behalf of all
   23

   24 other persons similarly situated (“the Class”) pursuant to Rule 23(b)(2), 23(b)(3), and

   25 23(c)(4) of the Federal Rules of Civil Procedure.

   26
              128. The Nationwide Class that Plaintiff seek to represent is defined as
   27

   28 follows:

                                                 33
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    1         All individuals residing in the United States whose Private Information
    2
              was disclosed to a third party without authorization or consent through
              the Tracking Pixel on Defendant’s Website.
    3

    4         129. Excluded from the Class are Defendant, its agents, affiliates, parents,

    5 subsidiaries, any entity in which Defendant has a controlling interest, any Defendant

    6
        officer or director, any successor or assign, and any Judge who adjudicates this case,
    7

    8 including their staff and immediate family.

    9         130. Plaintiff reserve the right to modify or amend the definition of the
   10
        proposed Class before the Court determines whether certification is appropriate. 297.
   11

   12 Numerosity, Fed R. Civ. P. 23(a)(1).

   13         131. The Class Members for each proposed Class are so numerous that joinder
   14
        of all members is impracticable. Upon information and belief, there are over
   15

   16 3,000,000 million individuals whose Private Information may have been improperly

   17 accessed by Facebook and/or Google, and the Class is identifiable within Defendant’s

   18
        records.
   19

   20         132. Commonality, Fed. R. Civ. P. 23(a)(2) and (b)(3). Questions of law and
   21 fact common to each Class exist and predominate over any questions affecting only

   22
        individual Class Members. These include:
   23

   24                      a. Whether and to what extent Defendant had a duty to protect
   25                         the PII and PHI of Plaintiff and Class Members;
   26
                           b. Whether Defendant had duties not to disclose the PII and PHI
   27

   28                         of Plaintiff and Class Members to unauthorized third parties;

                                                 34
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    1                  c. Whether Defendant violated its Privacy Policies by disclosing
    2
                          the PII and PHI of Plaintiff and Class Members to Facebook,
    3

    4                     Google, and/or additional third parties;

    5                  d. Whether Defendant adequately, promptly, and accurately
    6
                          informed Plaintiff and Class Members that their PII and PHI
    7

    8                     would be disclosed to third parties;

    9                  e. Whether Defendant violated the law by failing to promptly
   10
                          notify Plaintiff and Class Members that their PII and PHI had
   11

   12                     been compromised;

   13                  f. Whether Defendant adequately addressed and fixed the
   14
                          practices which permitted the disclosure of patient PHI and
   15

   16                     PII;
   17                  g. Whether Defendant engaged in unfair, unlawful, or deceptive
   18
                          practices by failing to safeguard the PII and PHI of Plaintiff
   19

   20                     and Class Members;
   21                  h. Whether Defendant violated the consumer protection statutes
   22
                          invoked herein;
   23

   24                  i. Whether Plaintiff and Class Members are entitled to actual,
   25                     consequential, and/or nominal damages as a result of
   26
                          Defendant’s wrongful conduct;
   27

   28

                                             35
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    1                       j. Whether Defendant knowingly made false representations as
    2
                               to its data security and/or Privacy Policies practices;
    3

    4                       k. Whether Defendant knowingly omitted material

    5                          representations with respect to its data security and/or Privacy
    6
                               Policies practices; and,
    7

    8                       l. Whether Plaintiff and Class Members are entitled to

    9                          injunctive relief to redress the imminent and currently
   10
                               ongoing harm faced as a result of Defendant’s disclosure of
   11

   12                          their PII and PHI.

   13         133. Typicality, Fed. R. Civ. P. 23(a)(3). Plaintiff's claims are typical of those
   14
        of other Class Members because he had his PII and PHI compromised as a result of
   15

   16 Defendant’s incorporation of the Pixel and similar technologies, due to Defendant’s

   17 misfeasance.

   18
              134. Adequacy, Fed. R. Civ. P. 23(a)(4). Plaintiff will fairly and adequately
   19

   20 represent and protect the interests of the Class Members in that Plaintiff has no

   21 disabling conflicts of interest that would be antagonistic to those of the other Members

   22
        of the Class. Plaintiff seeks no relief that is antagonistic or adverse to the Members of
   23

   24 the Class and the infringement of the rights and the damages Plaintiff has suffered are

   25 typical of other Class Members. Plaintiff has also retained counsel experienced in

   26
        complex class action litigation, and Plaintiff intends to prosecute this action
   27

   28 vigorously.

                                                    36
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    1         135. Superiority and Manageability, Fed. R. Civ. P. 23(b)(3). Class litigation
    2
        is an appropriate method for fair and efficient adjudication of the claims involved.
    3

    4 Class action treatment is superior to all other available methods for the fair and

    5 efficient adjudication of the controversy alleged herein; it will permit a large number

    6
        of Class Members to prosecute their common claims in a single forum simultaneously,
    7

    8 efficiently, and without the unnecessary duplication of evidence, effort, and expense

    9 that hundreds of individual actions would require. Class action treatment will permit

   10
        the adjudication of relatively modest claims by certain Class Members, who could not
   11

   12 individually afford to litigate a complex claim against large corporations, like

   13 Defendant. Further, even for those Class Members who could afford to litigate such a

   14
        claim, it would still be economically impractical and impose a burden on the courts.
   15

   16         136. Policies Generally Applicable to the Class. This class action is also
   17 appropriate for certification because Defendant has acted or refused to act on grounds

   18
        generally applicable to the Class, thereby requiring the Court’s imposition of uniform
   19

   20 relief to ensure compatible standards of conduct toward the Class Members and

   21 making final injunctive relief appropriate with respect to the Class as a whole.

   22
        Defendant’s policies challenged herein apply to and affect Class Members uniformly
   23

   24 and Plaintiff's challenge of these policies hinges on Defendant’s conduct with respect

   25 to the Class as a whole, not on facts or law applicable only to Plaintiff.

   26
              137. The nature of this action and the nature of laws available to Plaintiff and
   27

   28 Class Members make the use of the class action device a particularly efficient and

                                                 37
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    1 appropriate procedure to afford relief to Plaintiff and Class Members for the wrongs

    2
        alleged because Defendant would necessarily gain an unconscionable advantage since
    3

    4 they would be able to exploit and overwhelm the limited resources of each individual

    5 Class Member with superior financial and legal resources; the costs of individual suits

    6
        could unreasonably consume the amounts that would be recovered; proof of a
    7

    8 common course of conduct to which Plaintiff was exposed is representative of that

    9 experienced by the Class and will establish the right of each Class Member to recover

   10
        on the cause of action alleged; and individual actions would create a risk of
   11

   12 inconsistent results and would be unnecessary and duplicative of this litigation.

   13         138. The litigation of the claims brought herein is manageable. Defendant’s
   14
        uniform conduct, the consistent provisions of the relevant laws, and the ascertainable
   15

   16 identities of Class Members demonstrate that there would be no significant

   17 manageability problems with prosecuting this lawsuit as a class action.

   18
              139. Adequate notice can be given to Class Members directly using
   19

   20 information maintained in Defendant’s records.

   21         140. Unless a Class-wide injunction is issued, Defendant may continue in its
   22
        failure to properly secure the Private Information of Class Members, Defendant may
   23

   24 continue to refuse to provide proper notification to Class Members regarding the

   25 practices complained of herein, and Defendant may continue to act unlawfully as set

   26
        forth in this Complaint.
   27

   28

                                                 38
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    1         141. Further, Defendant has acted or refused to act on grounds generally
    2
        applicable to each Class and, accordingly, final injunctive or corresponding
    3

    4 declaratory relief with regard to the Class Members as a whole is appropriate under

    5 Rule 23(b)(2) of the Federal Rules of Civil Procedure.

    6
              142. Likewise, particular issues under Rule 23(c)(4) are appropriate for
    7

    8 certification because such claims present only particular, common issues, the

    9 resolution of which would advance the disposition of this matter and the parties’

   10
        interests therein. Such particular issues include, but are not limited to:
   11

   12                       a. Whether Defendant owed a legal duty to not disclose

   13                          Plaintiff's and Class Members’ Private Information;
   14
                            b. Whether Defendant owed a legal duty to not disclose
   15

   16                          Plaintiff's and Class Members’ Private Information with
   17                          respect to Defendant’s Privacy Policies;
   18
                            c. Whether Defendant breached a legal duty to Plaintiff and
   19

   20                          Class Members to exercise due care in collecting, storing,
   21                          using, and safeguarding their Private Information;
   22
                            d. Whether Defendant failed to comply with its own policies and
   23

   24                          applicable laws, regulations, and industry standards relating
   25                          to data security;
   26

   27

   28

                                                   39
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    1                      e. Whether Defendant adequately and accurately informed
    2
                               Plaintiff and Class Members that their Private Information
    3

    4                          would be disclosed to third parties;

    5                      f. Whether Defendant failed to implement and maintain
    6
                               reasonable security procedures and practices appropriate to
    7

    8                          the nature and scope of the information disclosed to third

    9                          parties; and,
   10
                           g. Whether Class Members are entitled to actual, consequential,
   11

   12                          and/or nominal damages, and/or injunctive relief as a result of

   13                          Defendant’s wrongful conduct.
   14
              143. Plaintiff reserves the right to amend or modify the Class definition as
   15

   16 this case progresses

   17                                       COUNT I
   18                              INVASION OF PRIVACY
                               (On Behalf of Plaintiff and the Class)
   19

   20         144. Plaintiff re-alleges and incorporates by reference all prior paragraphs as

   21 if fully set forth herein.

   22
              145. Plaintiff’s and Class Members’ Private Information, including their
   23

   24 communications with their healthcare provider and sensitive personal and medical data,

   25 are private facts that Defendant disclosed to Facebook, Google, TikTok, and others

   26
        without the knowledge or consent of Plaintiff and Class Members.
   27

   28

                                                  40
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    1          146. Defendant gave publicity to Plaintiff’s and Class Members’ private facts
    2
        and the contents of their communications and other data by sharing them with
    3

    4 Facebook, Google, TikTok, and others who in turn view and analyze the information

    5 and offers it to its advertising partners. Many of those companies have business models

    6
        predicated on building massive databases of individual consumer profiles from which
    7

    8 to sell targeted advertising and make further disseminations.

    9          147. Plaintiff and Class Members had no knowledge that Defendant was
   10
        tracking and sharing their private browsing activities and communications because
   11

   12 Defendant neither disclosed this activity nor acquired Plaintiff’s and Class Members’

   13 consent to being tracked on Defendant’s website or having their activity on the website

   14
        disclosed to third parties.
   15

   16          148. Defendant’s surreptitious tracking and disclosure of Plaintiff’s and Class
   17 Members’ Private Information would be highly offensive to a reasonable person.

   18
        Particularly given that Plaintiff and Class Members were communicating with their
   19

   20 healthcare provider and were not informed that a third party advertiser was listening in

   21 on their communications and viewing, acquiring, and using their Private Information.

   22
               149. In disseminating Plaintiff’s and Class Members’ Private Information
   23

   24 without their consent in the manner described above, Defendant acted with oppression,

   25 fraud, or malice.

   26
               150. Plaintiff and Class Members have been damaged by the publication of
   27

   28 their Private Information and are entitled to just compensation in the form of actual

                                                  41
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    1 damages, general damages, unjust enrichment, nominal damages, and punitive

    2
        damages.
    3

    4                                  COUNT II
                 INVASION OF PRIVACY - INTRUSION UPON SECLUSION
    5                      (On Behalf of Plaintiff and the Class)
    6
               151. Plaintiff re-alleges and incorporates by reference all prior paragraphs as
    7
        if fully set forth herein.
    8

    9          152. Plaintiff and Class Members have an interest in: (1) precluding the
   10
        dissemination and/or misuse of their sensitive, confidential communications and
   11

   12
        protected health information; and (2) making personal decisions and/or conducting

   13 personal activities without observation, intrusion or interference, including, but not

   14
        limited to, the right to visit and interact with various internet sites without being
   15

   16
        subjected to wiretaps without Plaintiff’s and Class Members’ knowledge or consent.

   17          153. Plaintiff and Class members had a reasonable expectation of privacy in
   18
        their communications with Defendant via its website and the communications
   19

   20 platforms and services therein.

   21          154. Plaintiff and Class members communicated sensitive and protected
   22
        medical information and individually identifiable information that they intended for
   23

   24 only Defendant to receive and that they understood Defendant would keep private.

   25          155. Defendant’s disclosure of the substance and nature of those
   26
        communications to third parties without the knowledge and consent of Plaintiff and
   27

   28

                                                  42
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    1 Class members is an intentional intrusion on Plaintiff’s and Class members’ solitude or

    2
        seclusion.
    3

    4         156. Plaintiff and Class Members had a reasonable expectation of privacy

    5 given Defendant’s Privacy Policy and other representations. Moreover, Plaintiff and

    6
        Class Members have a general expectation that their communications regarding
    7

    8 healthcare with their healthcare providers will kept confidential. Defendant’s disclosure

    9 of private medical information coupled with individually identifying information is

   10
        highly offensive to the reasonable person.
   11

   12         157. As a result of Defendant’s actions, Plaintiff and Class Members have

   13 suffered harm and injury, including but not limited to an invasion of their privacy rights.

   14
              158. Plaintiff and Class members have been damaged as a direct and proximate
   15

   16 result of Defendant’s invasion of their privacy and are entitled to just compensation,

   17 including monetary damages.

   18
              159. Plaintiff and Class Members seek appropriate relief for that injury,
   19

   20 including but not limited to damages that will reasonably compensate Plaintiff and

   21 Class Members for the harm to their privacy interests as a result of its intrusions upon

   22
        Plaintiff’s and Class Members’ privacy.
   23

   24         160. Plaintiff and Class Members are also entitled to punitive damages
   25 resulting from the malicious, willful, and intentional nature of Defendant’s actions,

   26
        directed at injuring Plaintiff and Class Members in conscious disregard of their rights.
   27

   28

                                                     43
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    1 Such damages are needed to deter Defendant from engaging in such conduct in the

    2
        future.
    3

    4          161. Plaintiff also seeks such other relief as the Court may deem just and

    5 proper.

    6
                                             COUNT III
    7                           BREACH OF IMPLIED CONTRACT
    8                            (On Behalf of Plaintiff and the Class)

    9          162. Plaintiff re-alleges and incorporates by reference all prior paragraphs as
   10
        if fully set forth herein.
   11

   12          163. When Plaintiff and Class Members provided their Private Information to

   13 Defendant in exchange for services, they entered into an implied contract pursuant to

   14
        which Defendant agreed to safeguard and not disclose their Private Information
   15

   16 without consent.

   17          164. Plaintiff and Class Members accepted Defendant’s offers and provided
   18
        their Private Information to Defendant.
   19

   20          165. Plaintiff and Class Members would not have entrusted Defendant with
   21 their Private Information in the absence of an implied contract between them and

   22
        Defendant obligating Defendant to not disclose Private Information without consent.
   23

   24          166. Defendant breached these implied contracts by disclosing Plaintiff's and
   25 Class Members’ Private Information to third parties, i.e., Facebook and/or Google.

   26
               167. As a direct and proximate result of Defendant’s breaches of these implied
   27

   28 contracts, Plaintiff and Class Members sustained damages as alleged herein. Plaintiff

                                                  44
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    1 and Class Members would not have used Defendant’s services, or would have paid

    2
        substantially for these services, had they known their Private Information would be
    3

    4 disclosed.

    5         168. Plaintiff and Class Members are entitled to compensatory and
    6
        consequential damages as a result of Defendant’s breach of implied contract.
    7

    8                                      COUNT IV
                                  BREACH OF CONFIDENCE
    9                          (On Behalf of Plaintiff and the Class)
   10
              169. Plaintiff re-alleges and incorporates by reference all prior paragraphs as
   11

   12 if fully set forth herein.

   13         170. Medical providers have a duty to their patients to keep non-public
   14
        medical information completely confidential.
   15

   16         171. Plaintiff and Class Members had reasonable expectations of privacy in
   17 their communications exchanged with Defendant, including communications

   18
        exchanged on Defendant’s Website.
   19

   20         172. Plaintiff's and Class Members’ reasonable expectations of privacy in the
   21 communications exchanged with Defendant were further buttressed by Defendant’s

   22
        express promises in its Privacy Policies.
   23

   24         173. Contrary to its duties as a medical provider and its express promises of
   25 confidentiality, Defendant deployed the Tracking Pixel to disclose and transmit

   26
        Plaintiff's Private Information and the contents of their communications exchanged
   27

   28 with Defendant to third parties.

                                                    45
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    1         174. The third-party recipients included, but were not limited to, Facebook,
    2
        Google, TikTok and other online marketers.
    3

    4         175. Defendant’s disclosures of Plaintiff's and Class Members’ Private

    5 Information were made without their knowledge, consent, or authorization, and were

    6
        unprivileged.
    7

    8         176. The harm arising from a breach of provider-patient confidentiality

    9 includes erosion of the essential confidential relationship between the healthcare

   10
        provider and the patient.
   11

   12         177. As a direct and proximate cause of Defendant’s unauthorized disclosures

   13 of    patient     personally   identifiable,   non-public   medical   information,   and
   14
        communications, Plaintiff and Class members were damaged by Defendant’s breach
   15

   16 in that:

   17                 a. Sensitive and confidential information that Plaintiff and Class
   18
                         members intended to remain private is no longer private;
   19

   20                 b. Defendant eroded the essential confidential nature of the provider-
   21                    patient relationship;
   22
                      c. Defendant took something of value from Plaintiff and Class
   23

   24                    members and derived benefit therefrom without Plaintiff's and Class
   25                    members’ knowledge or informed consent and without
   26
                         compensating Plaintiff for the data;
   27

   28

                                                     46
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    1                 d. Plaintiff and Class members did not get the full value of the medical
    2
                         services for which they paid, which included Defendant’s duty to
    3

    4                    maintain confidentiality;

    5                 e. Defendant’s actions diminished the value of Plaintiff's and Class
    6
                         members’ Private Information; and,
    7

    8                 f. Defendant’s actions violated the property rights Plaintiff and Class

    9                    members have in their Private Information.
   10
               178. Plaintiff and Class Members are therefore entitled to general damages
   11

   12 for invasion of their rights in an amount to be determined by a jury and nominal

   13 damages for each independent violation.

   14
                                     COUNT V
   15     VIOLATIONS OF ELECTRONIC COMMUNICATIONS PRIVACY ACT
   16                                ("ECPA")
                             18 U.S.C. § 2511(1) et seq.
   17        UNAUTHORIZED INTERCEPTION, USE, AND DISCLOSURE
   18                   (On Behalf of Plaintiff and the Class)
   19          179. Plaintiff re-alleges and incorporates by reference all prior paragraphs as
   20
        if fully set forth herein.
   21

   22          180. The ECPA protects both sending and receipt of communications.
   23          181. 18 U.S.C. § 2520(a) provides a private right of action to any person
   24
        whose wire or electronic communications are intercepted, disclosed, or intentionally
   25

   26 used in violation of Chapter 119.

   27

   28

                                                     47
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    1         182. The transmissions of Plaintiff's PII and PHI to Defendant’s Website
    2
        qualifies as a “communication” under the ECPA’s definition of 18 U.S.C. § 2510(12).
    3

    4         183. Electronic Communications. The transmission of PII and PHI between

    5 Plaintiff and Class Members and Defendant’s Website with which they chose to

    6
        exchange communications are “transfer[s] of signs, signals, writing,…data, [and]
    7

    8 intelligence of [some] nature transmitted in whole or in part by a wire, radio,

    9 electromagnetic, photoelectronic, or photooptical system that affects interstate

   10
        commerce” and are therefore “electronic communications” within the meaning of 18
   11

   12 U.S.C. § 2510(2).

   13         184. Content. The ECPA defines content, when used with respect to
   14
        electronic communications, to “include[] any information concerning the substance,
   15

   16 purport, or meaning of that communication.” 18 U.S.C. § 2510(8) (emphasis added).

   17         185. Interception. The ECPA defines the interception as the “acquisition of
   18
        the contents of any wire, electronic, or oral communication through the use of any
   19

   20 electronic, mechanical, or other device” and “contents … include any information

   21 concerning the substance, purport, or meaning of that communication.” 18 U.S.C. §

   22
        2510(4), (8).
   23

   24         186. Electronical, Mechanical, or Other Device. The ECPA defines
   25 “electronic, mechanical, or other device” as “any device … which can be used to

   26
        intercept a[n] … electronic communication[.]” 18 U.S.C. § 2510(5). The following
   27

   28 constitute “devices” within the meaning of 18 U.S.C. § 2510(5):

                                                48
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    1               a. Plaintiff's and Class Members’ browsers;
    2
                    b. Plaintiff's and Class Members’ computing devices;
    3

    4               c. Defendant’s web-servers; and,

    5               d. The Pixel Code deployed by Defendant to effectuate the sending
    6
                        and acquisition of patient communications
    7

    8         187. By utilizing and embedding the Pixel on its Website, Defendant

    9 intentionally intercepted, endeavored to intercept, and procured another person to

   10
        intercept, the electronic communications of Plaintiff and Class Members, in violation
   11

   12 of 18 U.S.C. § 2511(1)(a).

   13         188. Specifically, Defendant intercepted Plaintiff's and Class Members’
   14
        electronic communications via the Tracking Pixel, which tracked, stored, and
   15

   16 unlawfully disclosed Plaintiff's and Class Members’ Private Information to third

   17 parties such Facebook and Google.

   18
              189. Defendant’s intercepted communications include, but are not limited to,
   19

   20 communications to/from Plaintiff's and Class Members’ regarding PII and PHI,

   21 treatment, medication, and scheduling.

   22
              190. By intentionally disclosing or endeavoring to disclose the electronic
   23

   24 communications of Plaintiff and Class Members to affiliates and other third parties,

   25 while knowing or having reason to know that the information was obtained through

   26
        the interception of an electronic communication in violation of 18 U.S.C. §
   27

   28 2511(1)(a), Defendant violated 18 U.S.C. § 2511(1)(c).

                                                 49
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    1         191. By intentionally using, or endeavoring to use, the contents of the
    2
        electronic communications of Plaintiff and Class Members, while knowing or having
    3

    4 reason to know that the information was obtained through the interception of an

    5 electronic communication in violation of 18 U.S.C. § 2511(1)(a), Defendant violated

    6
        18 U.S.C. § 2511(1)(d).
    7

    8         192. Unauthorized Purpose. Defendant intentionally intercepted the contents

    9 of Plaintiff's and Class Members’ electronic communications for the purpose of

   10
        committing a tortious act in violation of the Constitution or laws of the United States
   11

   12 or of any State – namely, invasion of privacy, among others.

   13         193. Defendant intentionally used the wire or electronic communications to
   14
        increase its profit margins. Defendant specifically used the Pixel to track and utilize
   15

   16 Plaintiff's and Class Members’ PII and PHI for financial gain.

   17         194. Defendant was not acting under color of law to intercept Plaintiff's and
   18
        the Class Members' wire or electronic communication.
   19

   20         195. Plaintiff and Class Members did not authorize Defendant to acquire the
   21 content of their communications for purposes of invading Plaintiff's privacy via the

   22
        Pixel tracking code.
   23

   24         196. Any purported consent that Defendant received from Plaintiff and Class
   25 Members was not valid.

   26
              197. In sending and in acquiring the content of Plaintiff's and Class Members’
   27

   28 communications relating to the browsing of Defendant’s Website, Defendant’s

                                                  50
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    1 purpose was tortious, criminal, and designed to violate federal and state legal

    2
        provisions including a knowing intrusion into a private, place, conversation, or matter
    3

    4 that would be highly offensive to a reasonable person.

    5                               COUNT VI
    6      VIOLATION OF ELECTRONIC COMMUNICATIONS PRIVACY ACT
                 UNAUTHORIZED DIVULGENCE BY ELECTRONIC
    7            COMMUNICATIONS SERVICE 18 U.S.C. § 2511(3)(a)
    8                   (On Behalf of Plaintiff and the Class)

    9          198. Plaintiff re-alleges and incorporates by reference all prior paragraphs as
   10
        if fully set forth herein.
   11

   12          199. The ECPA Wiretap statute provides that “a person or entity providing an

   13 electronic communication service to the public shall not intentionally divulge the

   14
        contents of any communication (other than one to such person or entity, or an agent
   15

   16 thereof) while in transmission on that service to any person or entity other than an

   17 addressee or intended recipient of such communication or an agent of such addressee

   18
        or intended recipient.” 18 U.S.C. § 2511(3)(a).
   19

   20          200. Electronic Communication Service. An “electronic communication
   21 service” is defined as “any service which provides to users thereof the ability to send

   22
        or receive wire or electronic communications.” 18 U.S.C. § 2510(15).
   23

   24          201. Defendant’s Website is an electronic communication service. The
   25 website provides to users thereof the ability to send or receive electronic

   26
        communications. In the absence of Defendant’s Website, internet users could not send
   27

   28 or receive communications regarding Plaintiff's and Class Members’ PII and PHI.

                                                  51
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    1         202. Intentional Divulgence. Defendant intentionally designed the Tracking
    2
        Pixel and was or should have been aware that, if misconfigured, it could divulge
    3

    4 Plaintiff's and Class Members’ PII and PHI.

    5         203. While in Transmission. Upon information and belief, Defendant’s
    6
        divulgence of the contents of Plaintiff's and Class Members’ communications was
    7

    8 contemporaneous with their exchange with Defendant’s Digital Platforms, to which

    9 they directed their communications.

   10
              204. Defendant divulged the contents of Plaintiff's and Class Members’
   11

   12 electronic communications without authorization. Defendant divulged the contents of

   13 Plaintiff's and Class Members’ communications to Facebook without Plaintiff's and

   14
        Class Members’ consent and/or authorization.
   15

   16         205. Exceptions do not apply. In addition to the exception for
   17 communications directly to an ECS or an agent of an ECS, the Wiretap Act states that

   18
        “[a] person or entity providing electronic communication service to the public may
   19

   20 divulge the contents of any such communication as follows:

   21               a. “as otherwise authorized in section 2511(2)(a) or 2517 of this title;”
   22
                    b. “with the lawful consent of the originator or any addressee or
   23

   24                  intended recipient of such communication;”
   25               c. “to a person employed or authorized, or whose facilities are used, to
   26
                       forward such communication to its destination;” or,
   27

   28

                                                 52
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    1                d. “which were inadvertently obtained by the service provider and
    2
                        which appear to pertain to the commission of a crime, if such
    3

    4                   divulgence is made to a law enforcement agency.” 18 U.S.C. §

    5                   2511(3)(b)
    6
             206. Section 2511(2)(a)(i) provides:
    7

    8        It shall not be unlawful under this chapter for an operator of a switchboard, or
             an officer, employee, or agent of a provider of wire or electronic
    9        communication service, whose facilities are used in the transmission of a wire
   10        or electronic communication, to intercept, disclose, or use that
             communication in the normal course of his employment while engaged in any
   11        activity which is a necessary incident to the rendition of his service or to the
   12        protection of the rights or property of the provider of that service, except that
             a provider of wire communication service to the public shall not utilize
   13        service observing or random monitoring except for mechanical or service
   14        quality control checks.

   15        207. Defendant’s divulgence of the contents of Plaintiff's and Class Members’
   16
        communications on Defendant’s Website to Facebook was not authorized by 18
   17

   18 U.S.C. § 2511(2)(a)(i) in that it was neither: (1) a necessary incident to the rendition

   19 of Defendant’s service; nor (2) necessary to the protection of the rights or property of

   20
        Defendant.
   21

   22        208. Section 2517 of the ECPA relates to investigations by government
   23 officials and has no relevance here.

   24
             209. Defendant's divulgence of the contents of user communications on
   25

   26 Defendant’s browser through the Pixel code was not done “with the lawful consent of

   27 the originator or any addresses or intended recipient of such communication[s].” As

   28

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    1 alleged above: (a) Plaintiff and Class Members did not authorize Defendant to divulge

    2
        the contents of their communications; and (b) Defendant did not procure the “lawful
    3

    4 consent” from the Websites or apps with which Plaintiff and Class Members were

    5 exchanging information.

    6
               210. Moreover, Defendant divulged the contents of Plaintiff and Class
    7

    8 Members’ communications through the Tracking Pixel to individuals who are not

    9 “person[s] employed or whose facilities are used to forward such communication to

   10
        its destination.”
   11

   12          211. The contents of Plaintiff's and Class Members’ communications did not

   13 appear to pertain to the commission of a crime and Defendant did not divulge the

   14
        contents of their communications to a law enforcement agency.
   15

   16          212. As a result of the above actions and pursuant to 18 U.S.C. § 2520, the
   17 Court may assess statutory damages; preliminary and other equitable or declaratory

   18
        relief as may be appropriate; punitive damages in an amount to be determined by a
   19

   20 jury; and reasonable attorneys’ fees and other litigation costs reasonably incurred.

   21
                                    COUNT VII
   22
           VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT (CFAA)
   23                         18 U.S.C. § 1030, et seq.
   24
                        (On Behalf of Plaintiff and the Class)

   25          213. Plaintiff re-alleges and incorporates by reference all prior paragraphs as
   26
        if fully set forth herein.
   27

   28

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    1         214. Plaintiff's and the Class’s mobile devices are, and at all relevant times
    2
        have been, used for interstate communication and commerce, and are therefore
    3

    4 “protected computers” under 18 U.S.C. § 1030(e)(2)(B).

    5         215. Defendant exceeded, and continues to exceed, authorized access to the
    6
        Plaintiff's and the Class’s protected computers and obtained information thereby, in
    7

    8 violation of 18 U.S.C. § 1030(a)(2), (a)(2)(C).

    9         216. Defendant’s conduct caused “loss to 1 or more persons during any 1-year
   10
        period . . . aggregating at least $5,000 in value” under 18 U.S.C. § 1030(c)(4)(A)(i)(I),
   11

   12 inter alia, because of the secret transmission of Plaintiff's and the Class’s private and

   13 personally identifiable data and content – including the Website visitor’s electronic

   14
        communications with the Website, including their mouse movements, clicks,
   15

   16 keystrokes (such as text being entered into an information field or text box), URLs of

   17 web pages visited, and/or other electronic communications in real-time (“Website

   18
        Communications”) which were never intended for public consumption.
   19

   20         217. Defendant’s conduct also constitutes “a threat to public health or safety”
   21 under 18 U.S.C. § 1030(c)(4)(A)(i)(IV) due to the Private Information of Plaintiff and

   22
        the Class being made available to Defendant, Facebook, and/or other third parties
   23

   24 without adequate legal privacy protections.

   25         218. Accordingly, Plaintiff and the Class Members are entitled to “maintain a
   26
        civil action against the violator to obtain compensatory damages and injunctive relief
   27

   28 or other equitable relief.”18 U.S.C. § 1030(g).

                                                   55
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    1                                  COUNT VIII
    2
               VIOLATION OF THE CALIFORNIA INVASION OF PRIVACY ACT
                                Cal. Pen. Code § 630, et seq
    3                       (On Behalf of Plaintiff and the Class)
    4
               219. Plaintiff repeats the allegations contained in the paragraphs above as if
    5

    6 fully set forth herein and bring this count individually and on behalf of the proposed

    7 Class.

    8
               220. The California Invasion of Privacy Act (“CIPA”) is codified at Cal.
    9

   10 Penal Code §§ 630 to 638. The Act begins with its statement of purpose.

   11          The Legislature hereby declares that advances in science and technology have
   12          led to the development of new devices and techniques for the purpose of
               eavesdropping upon private communications and that the invasion of privacy
   13          resulting from the continual and increasing use of such devices and
   14          techniques has created a serious threat to the free exercise of personal liberties
               and cannot be tolerated in a free and civilized society.
   15

   16 Cal. Penal Code § 630.

   17          221. California Penal Code § 631(a) provides, in pertinent part:
   18
               Any person who, by means of any machine, instrument, or contrivance, or in
   19          any other manner … willfully and without the consent of all parties to the
   20          communication, or in any unauthorized manner, reads, or attempts to read, or
               to learn the contents or meaning of any message, report, or communication
   21          while the same is in transit or passing over any wire, line, or cable, or is being
   22          sent from, or received at any place within this state; or who uses, or attempts
               to use, in any manner, or for any purpose, or to communicate in any way, any
   23          information so obtained, or who aids, agrees with, employs, or conspires
   24          with any person or persons to unlawfully do, or permit, or cause to be done
               any of the acts or things mentioned above in this section, is punishable by a
   25          fine not exceeding two thousand five hundred dollars ($2,500).
   26
               222. A defendant must show it had the consent of all parties to a
   27

   28 communication.

                                                   56
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    1         223. At all relevant times, Defendant aided, employed, agreed with, and
    2
        conspired with Facebook to track and intercept Plaintiff’s and Class Members’
    3

    4 internet    communications     while   accessing    the   Digital   Platforms.   These

    5 communications were transmitted to and intercepted by a third party during the

    6
        communication and without the knowledge, authorization, or consent of Plaintiff and
    7

    8 Class Members.

    9         224. Defendant intentionally inserted an electronic device into its website
   10
        that, without the knowledge and consent of Plaintiff and Class Members, tracked and
   11

   12 transmitted the substance of their confidential communications with Defendant to a

   13 third party.

   14
              225. Defendant willingly facilitated Facebook’s, Google’s, TikTok’s, and
   15

   16 others’ interception and collection of Plaintiff’s and Class Members’ private medical

   17 information by embedding the Tracking Pixel on its website.

   18
              226. The following items constitute “machine[s], instrument[s], or
   19

   20 contrivance[s]” under the CIPA, and even if they do not, the Tracking Pixel falls under

   21 the broad catch-all category of “any other manner”:

   22
                  The computer codes and programs Defendant used to track Plaintiff’s
   23

   24                and Class Members’ communications while they were navigating the
   25
                     Digital Platforms;
   26
                  Plaintiff’s and Class Members’ browsers;
   27

   28             Plaintiff’s and Class Members’ computing and mobile devices;

                                                57
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    1              Defendant’s web and ad servers;
    2
                   The web and ad-servers from which Third Parties tracked and
    3

    4                intercepted Plaintiff’s and Class Members’ communications while they
    5                were using a web browser to access or navigate the Digital Platforms;
    6
                   The computer codes and programs used by third parties to effectuate
    7

    8                their tracking and interception of Plaintiff’s and Class Members’
    9
                     communications while they were using a browser to visit Defendant’s
   10
                     Digital Platforms ; and
   11

   12              The plan Defendant and others carried out to effectuate its tracking and
   13
                     interception of Plaintiff’s and Class Members’ communications while
   14
                     they were using a web browser or mobile application to visit
   15

   16                Defendant’s Digital Platforms.
   17
              227. Defendant fails to disclose that it is using Tracking Pixel specifically to
   18
        track and automatically and simultaneously transmit communications to a third party.
   19

   20 Defendant is aware that these communications are confidential as its Privacy Policy

   21
        and representations acknowledge the confidential nature of private medical
   22

   23
        information and disclaim that it is being shared with unidentified third parties without

   24 Plaintiff’s and Class Members’ express authorization.

   25
              228. The patient communication information that Defendant transmits while
   26

   27
        using Tracking Pixel constitutes protected health information.

   28

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    1         229. The Pixel is designed such that it transmits each of the user’s actions
    2
        taken on the webpage to a third party alongside and contemporaneously with the user
    3

    4 initiating the communication. Thus, the communication is intercepted in transit to the

    5 intended recipient, Defendant and before it reaches Defendant's server.

    6
              230. As demonstrated hereinabove, Defendant violates CIPA by aiding and
    7

    8 permitting third parties to receive its patients’ online communications in real time

    9 through its website without their consent.

   10
              231. By disclosing Plaintiff’s and Class Members’ private health information,
   11

   12 Defendant violated Plaintiff’s and Class Members’ statutorily protected right to

   13 privacy.

   14
              232. As a result of the above violations and pursuant to CIPA Section 637.2,
   15

   16 Defendant is liable to the Plaintiff and Class Members for treble actual damages

   17 related to their loss of privacy in an amount to be determined at trial or for statutory

   18
        damages in the amount of $5,000 per violation. Section 637.2 specifically states that
   19

   20 “[it] is not a necessary prerequisite to an action pursuant to this section that the

   21 plaintiff has suffered, or be threatened with, actual damages.”

   22
              233. Under the statute, Defendant is also liable for reasonable attorney’s fees,
   23

   24 litigation costs, injunctive and declaratory relief, and punitive damages in an amount

   25 to be determined by a jury, but sufficient to prevent the same or similar conduct by

   26
        the Defendant in the future.
   27

   28

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    1                                            COUNT IX
    2
                                  Violation Of The Unfair Competition Law
                                   Cal. Bus. & Prof. Code § 17200, et seq.
    3                               (On behalf of Plaintiff and the Class)
    4
               234. Plaintiff repeats the allegations contained in the foregoing paragraphs as
    5
        if fully set forth herein.
    6

    7          235. Plaintiff brings his claim for injunctive relief as he has no confidence
    8
        that Defendant has altered its privacy practices and he may wish to use Defendant’s
    9

   10
        services in the future.

   11          236. Plaintiff brings his claim for restitution in the alternative to his claims
   12
        for damages.
   13

   14
               237. California’s Unfair Competition Law (“UCL”) prohibits any “unlawful,

   15 unfair, or fraudulent business act or practice and unfair, deceptive, untrue or

   16
        misleading advertising.” Cal. Bus. & Prof. Code § 17200.
   17

   18          238. Defendant engaged in unlawful business practices in connection with its

   19 disclosure of Plaintiff’s and Class Members’ Private Information to unrelated third

   20
        parties, including Facebook, in violation of the UCL.
   21

   22          239. The acts, omissions, and conduct of Defendant as alleged herein

   23 constitute “business practices” within the meaning of the UCL.

   24
               240. The acts, omissions, and conduct of Defendant as alleged herein
   25

   26 emanated and was directed from Defendant’s California headquarters.

   27

   28

                                                  60
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    1         241. The acts, omissions, and conduct of Defendant as alleged herein
    2
        constitute “business practices” within the meaning of the UCL.
    3

    4         242. Defendant violated the “unlawful” prong of the UCL by violating, inter

    5 alia, Plaintiff’s and Class Member’s constitutional rights to privacy, state and federal

    6
        privacy statutes, and state consumer protection statutes, such as HIPAA, CIPA, the
    7

    8 ECPA, and the CFAA as pleaded above.

    9         243. Defendant’s acts, omissions, and conduct also violate the unfair prong of
   10
        the UCL because those acts, omissions, and conduct, as alleged herein, offended
   11

   12 public policy (including the aforementioned federal and state privacy statutes and

   13 state consumer protection statutes, such as HIPAA and CIPA, the ECPA, and CFAA,

   14
        and constitute immoral, unethical, oppressive, and unscrupulous activities that caused
   15

   16 substantial injury, including to Plaintiff and Class Members.

   17         244. Plaintiff viewed and relied upon Defendant’s representations concerning
   18
        the confidentiality of information provided by Plaintiff and Class Members to
   19

   20 Defendant. Had Defendant disclosed that it shared Private Information with third

   21 parties, Plaintiff would not have purchased Defendant’s services or would have paid

   22
        considerably less for those services.
   23

   24         245. The harm caused by the Defendant's conduct outweighs any potential
   25 benefits attributable to such conduct and there were reasonably available alternatives

   26
        to further Defendant’s legitimate business interests other than Defendant’s conduct
   27

   28 described herein.

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    1         246. As result of Defendant’s violations of the UCL, Plaintiff and Class
    2
        Members have suffered injury in fact and lost money or property, including but not
    3

    4 limited to payments to Defendant and/or other valuable consideration, e.g., access to

    5 their private and personal data. The unauthorized access to Plaintiff’s and Class

    6
        Members’ private and personal data also has diminished the value of that information.
    7

    8         247. Therefore, Plaintiff and members of the proposed Class are entitled to

    9 equitable relief to restore Plaintiff and Class Members to position they would have

   10
        been in had Defendant not engaged in unfair competition, including an order enjoining
   11

   12 Defendant’s wrongful conduct, restitution, and disgorgement of all profits paid to

   13 Defendant as a result of its unlawful and unfair practices.

   14
                                      PRAYER FOR RELIEF
   15

   16         WHEREFORE, Plaintiff, individually and on behalf of the Members of the
   17 Class defined above, respectfully request that this Court:

   18
              A.    Certify this case as a class action under Federal Rule of Civil Procedure
   19

   20               23, appoint Plaintiff as the Class representatives, and appoint the
   21               undersigned as Class counsel;
   22
              B.    Order appropriate relief to Plaintiff and the Class;
   23

   24         C.    Enter injunctive and declaratory relief as appropriate under the
   25               applicable law;
   26
              D.    Award Plaintiff and the Class pre-judgment and/or post-judgment
   27

   28               interest as prescribed by law;

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    1       E.      Award reasonable attorneys’ fees and costs as permitted by law; and
    2
            F.      Enter such other and further relief as may be just and proper.
    3

    4
                                 DEMAND FOR JURY TRIAL
    5
                 Plaintiff, on behalf of himself and the proposed Class, demands a trial by
    6

    7   jury for all of the claims asserted in this Complaint so triable.
    8

    9 Dated: March 10, 2023                   Respectfully submitted,

   10                                         s/ John J. Nelson
   11                                         John J. Nelson (SBN 317598)
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   17                                         Attorneys for Plaintiff and the Putative Class
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